       Case 1:19-mc-91077-DJC Document 2 Filed 02/27/19 Page 1 of 4


                      UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
                             EASTERN DIVISION

_________________________________
                                    }
IN RE ARBITRATION MATTER OF:        }
                                    }
RDSB ENTERPRISES, LLC and DS        }
HOLDINGS, INC.                      }
                                    }
     Claimants                      }
                                    }
v.                                  }
                                    }   MISC CASE NO: 19-91077
NEBRASKA VENDING, LLC, JOHN J.      }
MOUSIS, Individually, and MICHAEL   }
J. PALERMO, Individually            }
                                    }
     Respondents                    }
_________________________________   }
                                    }
American Arbitration Association    }
Case No. 01-17-0002-0952            }
_________________________________   }


                   MOTION FOR SHORT ORDER OF NOTICE


     NOW COME the Claimants in the American Arbitration Association Case

of RDSB Enterprises, LLC, et al v. Nebraska Vending, LLC, et al (AAA

Case No. 01-17-0002-0952) (hereinafter the "Arbitration"), and move this

Court for a Short Order of Notice in relation to the Claimants' Motion

For Issuance of Letters Rogatory filed this day.


     As reasons therefor, the Claimants state:


     1.    On February 12 & 13, 2019, the Arbitrator, Michael Tracy,

convened the final hearing in the Arbitration at which all witness

testified except for the witness who is the subject of the arbitral

subpoena for which the Claimants are seeking Letters Rogatory.



                                Page 1 of 4
          Case 1:19-mc-91077-DJC Document 2 Filed 02/27/19 Page 2 of 4


     2.      That witness - a witness for the Claimants - was expected to

testify on the first day of hearing but was unavailable and informed the

Claimants of this the day before the hearing was to begin.            Both the

Claimants and the Respondents sought a last-moment postponement of the

hearing in order to accommodate the witness, but that postponement was

not granted.



     3.      Because the parties had anticipated all witnesses to testify

during the two days of hearing followed shortly by the arbitrator's

decision, they did not utilize a stenographer or otherwise take steps

to record the proceedings. Due to the last-minute nature of the witness'

unavailability, the parties could not secure a stenographer on such short

notice.



     4.      The   applicable   local    rules   provide   that   responses   or

objections to the Motion for Issuance of Letters Rogatory be filed by

March 13, 2019.      Based on that date, the earliest the Claimants might

anticipate receiving the requested Letters Rogatory is some 30 days after

the first two days of hearing.          Given the need to serve the Letters

Rogatory and the Subpoena, and the need to give a reasonable amount of

time to the witness prior to testifying, the Claimants are concerned

that the significant additional time between the unrecorded testimony

of the witnesses on February 12th & 13th and the time when the subpoenaed

witness is likely to testify will be prejudicial to their case and may

result in findings that are not entirely consistent with the evidence

that was presented on the earlier dates.



                                   Page 2 of 4
       Case 1:19-mc-91077-DJC Document 2 Filed 02/27/19 Page 3 of 4




     WHEREFORE, for the reasons stated above, the Claimants respectfully

request that this Court issue a Short Order of Notice for responses

and/or objections to the Motion for Issuance of Letters Rogatory to be

filed within seven (7) days, or March 6, 2019.



                                  Respectfully submitted,
                                  Arbitration Claimants/Movants,
                                  By and through their attorney,



Dated: February 27, 2019          /s/ Joshua A. Burnett, Esq.
                                  Joshua A. Burnett, Esq., BBO # 677792
                                  65A Flagship Drive
                                  North Andover, MA 01845
                                  Tel: 978-933-1850
                                  jburnettlaw@comcast.net




                                Page 3 of 4
       Case 1:19-mc-91077-DJC Document 2 Filed 02/27/19 Page 4 of 4


                      UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
                             EASTERN DIVISION

_________________________________
                                      }
IN RE ARBITRATION MATTER OF:          }
                                      }
RDSB ENTERPRISES, LLC and DS          }
HOLDINGS, INC.                        }
                                      }
     Claimants                        }
                                      }
v.                                    }
                                      }   MISC CASE NO: 19-91077
NEBRASKA VENDING, LLC, JOHN J.        }
MOUSIS, Individually, and MICHAEL     }
J. PALERMO, Individually              }
                                      }
     Respondents                      }
_________________________________     }
                                      }
American Arbitration Association      }
Case No. 01-17-0002-0952              }
_________________________________     }


                           CERTIFICATE OF SERVICE

       I hereby certify that on the date indicated below, a copy of
the foregoing document was served by first class mail (and email where
indicated) to Steven Marullo, Esq., attorney for the Arbitration
Respondents, Johnathan Altman, Esq., attorney for Gracie Technologies,
and Gracie Technologies' Registered Agent, thus:

Steven J. Marullo, Esq.            Johnathan S. Altman, Esq.
435 Newbury St #217                575 King Street, Suite B
Danvers, MA 01923                  Charleston, SC 29403
sjmlaw@verizon.net                 jaltman@derfneraltman.com

Northwest Registered Agent, LLC
90 State Street, Suite 700
Office 40
Albany, NY 12207



Dated: February 27, 2019           /s/ Joshua A. Burnett, Esq.
                                   Joshua A. Burnett, Esq.




                                  Page 4 of 4
